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                     UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
      Plaintiff,
             v.                                     CR. NO. 09-221 (PG)
ROSA E. PIEDRAHITA [1], ET AL.
      Defendants.



                                 OPINION AND ORDER
     Pending now before the Court are co-defendants Rosa E. Piedrahita, Andres
Nunez and Ana L. Piedrahita’s (collectively “Defendants”) motions to dismiss
indictment (Dockets No. 40, 42). The Defendants argue therein that the counts
in the indictment are time-barred. The United States opposed their request
(Docket No. 45) and Defendants replied thereto (Dockets No. 50-51). For the
reasons set forth below, the Court DENIES the pending motions to dismiss.
                                   I. BACKGROUND
     According to the Indictment (Docket No. 2), ALR Investment Corp. d/b/a
Farmacia El Señorial (“ALR” or “the debtor”), through its president and co-
defendant, Rosa Piedrahita, commenced a Chapter 11 reorganization case on June
20, 2003. ALR was engaged in the operation of a local pharmacy known as
Farmacia El Señorial, located in San Juan, Puerto Rico. According to the
bankruptcy    schedules,   ALR   leased   the    pharmacy    from   Filencio   Valentin
(“Valentin”). Relevant to the matter at hand, are the procedural events that
took place in bankruptcy court that are described below.
     It stems from the record before this Court that during the bankruptcy
proceedings, ALR filed a motion to dismiss on September 19, 2003, which
Valentin opposed. Thereafter, on March 23, 2004, Valentin filed an “Urgent
Motion For Immediate Surrender of Non-Residential Lease Premises” that was
granted. Faced with this unfavorable ruling, ALR filed a Notice of Appeal on
May 10, 2004. Among ALR’s arguments on appeal was that the bankruptcy court
erred in granting Valentin’s motion to surrender when, at the time, a motion
for voluntary dismissal of the case was pending before it. On May 21, 2004,
ALR also filed a motion to stay the Order for Surrender pending the appeal.
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       On June 7, 2004, the bankruptcy court held a hearing wherein it ruled on
both pending motions despite the pending appeal. The court denied ALR’s motion
to stay and granted its motion to dismiss the case subject to ALR either
paying the U.S. Trustee or providing evidence to the Trustee that it had paid
the fees that were due. On June 16, 2004, the United States Trustee filed an
informative motion advising the court that the fees had been paid, and on June
28, 2004, the bankruptcy court entered an order stating as follows: “on June
9, 2004 the United States Trustee filed a statement with the Court indicating
that such fees had been paid, … , which resulted in the effective dismissal
of the Debtor’s case.” Having obtained dismissal of the case, on July 12,
2004, ALR filed a Notice of Voluntary Dismissal with the Bankruptcy Appellate
Panel (“BAP”), which granted the dismissal on July 21, 2004.
       Thereafter, on June, 24, 2009, Rosa E. Piedrahita, Andres Nunez and Ana
L. Piedrahita were indicted by a federal grand jury on four counts of
conspiracy and concealment of assets in violation of the provisions of Title
18, United States Code, Sections 371 and 152(1) and 2. See Docket No. 2. In
essence, the government alleges that from on or about March 4, 2003 through
on or about July 1, 2004, the Defendants conspired to conceal property from
creditors and/or the United States Trustee. In addition, Counts 2 to 4 allege
that the Defendants incurred in several acts of concealment of assets between
on or about March 4, 2003 and on or about June 2, 2004. See Docket No. 2.
       The Defendants now move to dismiss the criminal proceedings against them
arguing that the grand jury returned the indictment after the five (5) year
statute of limitations period for the offenses charged had elapsed. According
to Defendants, the five year statute of limitations began to run on June 7,
2004, the date of the “effective dismissal” of the bankruptcy case. On the
other hand, the United States argues that the bankruptcy case was not finally
dismissed until July 21, 2004, the date in which the BAP dismissed the pending
appeal. Therefore, according to the government, the Indictment is timely.
                                      II. DISCUSSION
       The question before us is whether the prosecution of these Defendants
on Counts 1 to 4 of the indictment is barred by the applicable five-year
statute of limitations.1


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         The governing statute is 18 U.S.C. § 3282, which provides that “[e]xcept as otherwise
expressly provided by law, no person shall be prosecuted, tried, or punished for any
offense, not capital, unless the indictment is found or the information is instituted within
five years next after such offense shall have been committed.”
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      In cases charging a conspiracy in violation of a statute that
requires proof of an overt act, the applicable statute of limitations is
complied with if the conspiracy still subsisted within the five years
prior to the return of the indictment, and at least one overt act in
furtherance of the conspiratorial agreement was performed within that
period. See U.S. v. Ramallo-Diaz, 455 F.Supp.2d 22, 28 (D.P.R. 2006)
(quoting Grunewald v. United States, 353 U.S. 391, 396-397 (1957)). The
grand jury returned the above captioned indictment on June 24, 2009. It
must thus be clear from the indictment that the conspiracy was still
ongoing and that at least one of the alleged overt acts in furtherance of
the conspiracy was performed on or after June 24, 2004.
      Count 1 of the Indictment (Conspiracy to Conceal Assets) alleges that
until on or about July 1, 2004, a co-defendant and co-conspirator, Rosa
E. Piedrahita, performed acts in furtherance of the conspiracy, such as
failing to file in bankruptcy court the Monthly Operating Reports required
to be filed by debtors in possession, thereby concealing approximately
$700,000 in payments deposited into the operating account during the
bankruptcy. See Docket No. 2. Therefore, as alleged, Count 1 falls within
the applicable statute of limitations.
      Moreover,       “[l]ike   conspiracy,   bankruptcy       concealment    has   been
described as a continuing offense.” U.S. v. Stein, 233 F.3d 6, 18 (1st
Cir.2000) (internal citations omitted). Pursuant to 18 U.S.C.A. § 3284:
           The concealment of assets of a debtor in a case under
           title 11 [bankruptcy] shall be deemed to be a
           continuing offense until the debtor shall have been
           finally discharged or a discharge denied, and the
           period of limitations shall not begin to run until
           such final discharge or denial of discharge.
18 U.S.C.A. § 3284 (emphasis ours). Therefore, in such a case as the one at
hand, the statute of limitations does not begin to run until the debtor is
discharged or denied discharge. However, where, as here, a discharge was
neither granted or denied, “several courts have extended the statute of
limitations under section 3284 to events that have the same effect as
denying a discharge of the bankrupt,” U.S. v. Dolan, 120 F.3d 856, (8th
Cir.1997) (citing United States v. Guglielmini, 425 F.2d 439, 443 (2d
Cir.1970)), such as “the date that the bankruptcy court dismissed [the
debtor’s] bankruptcy proceeding,” Dolan, 120 F.3d at 867. See also U.S. v.
Gilbert, 136 F.3d 1451, 1455 (11th Cir.1998) (“Events which have been held
to have the same effect as denial of discharge include the voluntary
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dismissal of bankruptcy proceedings, the waiver of discharge, and the
failure to file timely for discharge.”).
      In their request for dismissal, the Defendants contend that the
statute of limitations began to run on June 7, 2004 because on said date
the debtor complied with the bankruptcy court’s condition for dismissal,
namely, the payment of the fees to the U.S. Trustee. In its response, the
government counters the Defendants’ contention arguing that the bankruptcy
court lacked jurisdiction to entertain the motion to dismiss inasmuch as
there was a pending appeal at the time the dismissal order was entered, and
thus, the statute of limitations could not begin to run until the BAP
dismissed the appeal on July 21, 2004. The Court agrees with at least the
latter portion of the government’s argument.
      Finding it unnecessary to discuss whether or not the bankruptcy
court’s dismissal order was ultra vires, the truth of the matter is that
the debtor’s appeal was still pending even after said order was entered.
The debtor did not file a notice of voluntary dismissal of the appeal until
July 12, 2004, and the BAP did not grant it until July 21, 2004, this being
the date when the case was finally dismissed, as required by Section 3284.
The Indictment having been filed on June, 24, 2009, it is plain, then, that
the conspiracy and the concealment acts alleged in the Indictment were
performed within the applicable five-year limitations period. Consequently,
Defendants’ motion to dismiss the counts in the Indictment as time-barred
(Dockets No. 40, 42) must be DENIED.
                               III. CONCLUSION
      For the reasons set forth above, the Court DENIES the Defendants’ motions
to dismiss the indictment (Docket No. 40, 42).
      IT IS SO ORDERED.
      In San Juan, Puerto Rico, May 24, 2010.


                                         S/ JUAN M. PEREZ-GIMENEZ
                                         JUAN M. PEREZ-GIMENEZ
                                         U.S. DISTRICT JUDGE
